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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     *

               v.                            *       Criminal No.: GLR 20-0267

RONALD ALEXANDER                             *

*      *       *       *      *       *      *       *       *       *      *          *

      MOTION FOR REVIEW OF MAGISTRATE’S DETENTION ORDER
                  PURSUANT TO 18 U.S.C. § 3145(B)

       The Defendant, Ronald Alexander, by and through counsel, Julie M. Reamy,

respectfully moves this Honorable Court, pursuant to 18 U.S.C. §3145(b) for a review of

the existing detention order entered by Magistrate Judge David A. Copperthite and states

the following in support of his request:

       1. Mr. Alexander is charged with Conspiracy to Distribute Controlled Substances

in violation of 18 U.S.C. §§ 841 and 846.

       2. Mr. Alexander had an initial appearance and an arraignment on August 17, 2020

and a detention hearing was held on August 21, 2020.

       3. After a hearing, the presiding magistrate ordered Mr. Alexander detained upon

a finding that no condition or combination of conditions could be set to reasonably assure

Mr. Alexander’s appearance in court or mitigate risks to public safety.

       6. Mr. Alexander asserts that the magistrate judge erred in its judgement because

a combination of conditions can be set to reasonably assure his appearance at trial.

       WHEREFORE the Defendant respectfully requests that this Court review the

existing order of detention and grant him a hearing on the matter.
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                                             Respectfully submitted,

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                                             Julie M. Reamy

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                            CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 22nd day of May, 2020 copy of the foregoing was
filed electronically in the United States District Court for the District of Maryland, and
served electronically through the Clerk of the United States District Court using CM/ECF
upon Assistant United States Attorney, Matt DellaBetta.

                                             _________/s/________________
                                             Julie M. Reamy
